            U N I T E D S TAT E S D I S T R I C T C O U RT
         FOR THE SOUTHERN DISTRICT OF TEXAS
                      HOUSTON DIVISION


 Richard Lowery, on behalf of himself              Civil Action No.
 and others similarly situated,                    4:22-cv-03091

                        Plaintiff,
                                                   Judge Charles Eskridge
 v.

 Texas A&M University System, et al.,

                        Defendants.


 PLAINTIFF’S THIRD ADDITIONAL NOTICE TO THE COURT
      On August 14, 2023, the Texas A&M faculty senate held a meeting, with Acting

President Mark Welsh III in attendance. The full video of this meeting is available at

https://mediasite.tamu.edu/Mediasite/Play/27417399497b4b4aa597fda119c25be41d.

      During this meeting, Acting President Welsh was asked about the implementa-

tion of SB 17 and how it would affect the university. His answer begins at the 42:00

mark and ends at 43:53, and includes the following:

        I was actually fairly pleased with the interpretation the General Coun-
        sel took of [Senate] Bill 17 . . . . The only specific references to shutting
        things down were to activities that had D, E, and I in the title, that
        were labelled as D, E, and I, and did work in that field, those are re-
        stricted by the state bill. . . . I actually was, not pleasantly surprised
        because I’m not pleasantly surprised by anything related to this bill,
        but it was actually something that led me to believe we can actually
        comply with the law, and we can still do the things that make sense to
        do as we prepare men and women to go work in communities that have
        people of all colors, all language backgrounds, all socioeconomic
        strata, they got to go live in a big world and we need to prepare them
        to do it. And so I don’t think there’s anything that’s going to be in there



plaintiff’s third additional notice to the court                                   Page 1 of 4
       that’s going to stop us from doing the things we need to do, including
       targeted recruiting.
There are several notable features of this statement from Acting President Welsh,

who has been automatically substituted for former president Banks as a named de-
fendant in this lawsuit. See Fed. R. Civ. P. 25(d). The first is that Acting President

Welsh (as well as the general counsel’s office at Texas A&M) appears to believe that

SB 17 requires only the termination of programs or activities with the words “diver-

sity,” “equity,” or “inclusion” in their title. This indicates that Texas A&M intends

to continue allowing discriminatory programs or activities—including faculty-hiring

practices that discriminate on account of race or sex—so long as they can do so while

avoiding the nomenclature associated with “diversity,” “equity,” or “inclusion.”

The second is that the Acting President (and the general counsel’s office) believe

that SB 17 allows Texas A&M to continue doing “the things that make sense to do”

and “the things we need to do,” which presumably includes the discriminatory fac-

ulty-hiring goals that still appear on the university’s website.1 The third is that the

Acting President specifically endorsed the practice of “targeted recruiting.” It is not

clear what exactly the Acting President meant by “targeted recruiting,” or whether

he was referring to the recruitment of students or faculty (or both). But these are not

the words that one would expect to hear from a university president who intends to
enforce colorblind and sex-neutral faculty-hiring practices in response to SB 17.

                                  CONCLUSION
    The motion to dismiss for lack of justiciability should be denied.




1. See https://diversity.tamu.edu/Home/Strategic-Planning (last visited on August
   17, 2023); see also ECF No. 34-1.


plaintiff’s third additional notice to the court                              Page 2 of 4
                                       Respectfully submitted.

                                        /s/ Jonathan F. Mitchell
Gene P. Hamilton                       Jonathan F. Mitchell
Virginia Bar No. 80434                 Attorney in Charge
Vice-President and General Counsel     Texas Bar No. 24075463
America First Legal Foundation         S.D. Tex. Bar No. 1133287
300 Independence Avenue SE             Mitchell Law PLLC
Washington, DC 20003                   111 Congress Avenue, Suite 400
(202) 964-3721 (phone)                 Austin, Texas 78701
gene.hamilton@aflegal.org              (512) 686-3940 (phone)
                                       (512) 686-3941 (fax)
                                       jonathan@mitchell.law

                                       Counsel for Plaintiff and
Dated: August 17, 2023                 the Proposed Class




plaintiff’s third additional notice to the court                        Page 3 of 4
                         CERTIFICATE OF SERVICE
    I certify that on August 17, 2023, I served this document through CM/ECF

upon:

M. Carter Crow
Layne E. Kruse
Paul Trahan
Ryan Meltzer
Jesika Silva Blanco
1301 McKinney, Suite 5100
Houston, Texas 77010-3095
(713) 651-5151 (phone)
(713) 651-5246 (fax)
carter.crow@nortonrosefulbright.com
layne.kruse@nortonrosefulbright.com
paul.trahan@nortonrosefulbright.com
ryan.meltzer@nortonrosefulbright.com
jesika.blanco@nortonrosefulbright.com

Counsel for Defendants

                                         /s/ Jonathan F. Mitchell
                                        Jonathan F. Mitchell
                                        Counsel for Plaintiff and the Proposed Class




plaintiff’s third additional notice to the court                           Page 4 of 4
